
Appeal from an order of the Supreme Court, Erie County (Rose H. Sconiers, J.), entered March 25, 2008 in a personal injury action. The order granted the motion of defendant Neal E. Dunning for summary judgment dismissing the complaint and cross claim against him.
It is hereby ordered that the order so appealed from is unanimously modified on the law by dismissing that part of the motion seeking summary judgment dismissing the complaint against defendant Neal E. Dunning and as modified the order is affirmed without costs.
Same memorandum as in Virella v Allstate Home Care of Buffalo, Inc. (59 AD3d 1100 [2009]). Present—Scudder, PJ., Smith, Centra and Fahey, JJ.
